Case 8:15-cv-00192-AEP Document 127-14 Filed 05/02/17 Page 1 of 7 PagelD 1588

Exhibit N
Case 8:15-cv-00192-AEP Document 127-14 Filed 05/02/17 Page 2 of 7 PagelD 1589

Exhibit N
Case 8:15-cv-00192-AEP Document 127-14 Filed 05/02/17 Page 3 of 7 PagelD 1590

Page 1
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO.: 8:15-cv-00192-EAK-AEP
AMERICAN GENERAL LIFE INSURANCE COMPANY,
Plaintiff,
vs.
KEVIN H. BECHTEL, et al,
Defendants.
DEPOSITION OF: GARY RICHARDSON
TAKEN BY: DAVID DONAHUE, ESQUIRE
TAKEN: January 19, 2017
TIME: 9:30 a.m. ~ 12:00 p.m.
PLACE: Verbatim Professional Reporters
2202 N. Westshore Boulevard
Suite 200
Tampa, FL 33607
REPORTED BY: CHARLENE M. EANNEL, RPR
, Court Reporter, Notary Public
PAGES 1 - 94
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1/19/2017 American General Life Insyrance v. Keven H. Bechtel, et al
Case 8:15-cv-00192-AEP Document 127-14 Filed 05/02/17 Page 4 of 7 PagelD 1591

Page 53

Putting aside, I guess, what was actually sent
in to American General, I'm saying -- I'm asking you would
Mr. Bechtel, at that time, have had an opportunity to
review all of the pages of the then-current agency
contract?

MR. MILLIAN: Object to the form.

THE WITNESS: My assumption is -- and again, I'm
assuming -- that they're -- not whether or not Kevin
received it or not -- I don't know -- but it may

have -- did it get caught up in his office?

So all those things come into play, but should
there have been some sort of a contract? I would
assume, yes.

BY MR. DONAHUE:

Q. So I guess my question relates more to not
whether he did or didn't look at it. I mean, who knows
what happened or what he looked at or didn't look at.

My question is -- it goes back to some of the
earlier testimony that these agent forms or agent
contracts were available online. And so knowing that, do
you believe he would have at least had an opportunity to
review the terms of any of agent contract that was signed
at that time?

MR. MILLIAN: Object to form.

THE WITNESS: When you say the contracts are

1/19/2017 American General Life Insurance v. Keven H. Bechtel, et al

Case 8:15-cv-00192-AEP Document 127-14 Filed 05/02/17 Page 5 of 7 PagelD 1592

24

25

Page 54

online, are you saying the contract paperwork or are

you saying the contract coming back from AIG?

BY MR. DONAHUE:

Q. I'm saying the -- at that point, it would be
part of the kit or the paperwork.

A. No, that's not what I'm saying.

Q. Okay.

A. Are you telling me that the contract paperwork
that's online is what I fill out to apply for a contract,
or are you telling me that my contract with AIG is

available online?

Q. What I'm saying is there are contract forms
online.

A. So I have to fill them out in order to receive a
contract?

Q. Well, you have to sign the contract form and

send it in with your application.
A. To receive a contract?

To be contracted.

A. Okay. Okay.

Q. Right.

A. So now you're asking what part of that question?

Q. Well, just to make sure we're on the same page,
there is certainly -- you know, I think we can at least

agree that part of the -- a portion of the agency, you

1/19/2017 American General Life Insurance v. Keven H. Bechtel, et al

Case 8:15-cv-00192-AEP Document 127-14 Filed 05/02/17 Page 6 of 7 PagelD 1593

24

25

Page 55

know, appointment documents were available online, right?

A. Again, I'm going to -- the forms that I have to
fill out --
Yes.
A. -- to submit to AIG for them to contract me?
Q. Yes.
A. Those forms are available online.
Q. Right. It is your understanding that --
A. I think.
Q. -- that part of the package that gets sent or

that you have to sign and fill out ~-- part of that is
whatever the then-current agent contract is?

MR. MILLIAN: Object to form.

THE WITNESS: So some of the paperwork I fill
out in order to apply for a contract sent back in the
contract?

BY MR. DONAHUE:

Q. No. I'm saying part of what you fill out and
you send to the company for them to do what they do, part
of that is the agent contract that you have signed?

MR. MILLIAN: Object to the form.

THE WITNESS: I'm not bantering with you.

BY MR. DONAHUE:

No, no.

A. So the contract that American General -- they

1/19/2017 American General Life Insurance v. Keven H. Bechtel, et al

Case 8:15-cv-00192-AEP Document 127-14 Filed 05/02/17 Page 7 of 7 PagelD 1594
Page 56

1 got all the stuff in and they contract you, they send you
2 back the -- their contract saying, "You are now contracted
3 with AIG." You're saying that there is a signed page in

4 there that was part of the package that I originally sent

5 to you?

6 Q. Yes.

7 A. I don't know if that's true or not.

8 Q. Okay.

9 A. I don't remember if that's true.
10 Q. Do you know one way or the other?
11 A. What's that?
12 Q. Do you know one way or the other?
13 A. I don't know one way or the other.
14 Q. Let's get to Exhibit number 5. I'm sorry, this

15 memo from John Ekberg.

16 This is a memo, as we've discussed, dated
17 March 25th, 2007; do you see that?

18 A. I do.

19 Q. The first sentence, "Enclosed are AIG LBG

20 contracts for the two principals mentioned above."

21 Do you see that?
22 A. I do, yes.
23 Q. Does that refresh your recollection or help at

24 all with regard to what sort of paperwork was submitted

25 initially?

1/19/2017 American General Life Insurance v. Keven H. Bechtel, et al
